           Case 1:21-cr-00670-CJN Document 119 Filed 07/17/22 Page 1 of 6




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

      v.                                              Criminal Action No. 1:21-cr-00670 (CJN)

STEPHEN K. BANNON,

              Defendant.


                                 STATEMENT OF THE CASE

       The indictment in this case charges the Defendant, Stephen K. Bannon, with two counts of

contempt of Congress. In 2021, the Select Committee to Investigate the January 6th Attack on

the U.S. Capitol, a committee of the U.S. House of Representatives, was conductingan

investigation into the January 6, 2021, attack on the U.S. Capitol. According to the indictment,

on September 23, 2021, the Select Committee issued a subpoena to the Defendant directing him

to provide various records relating to its investigation by October 7, 2021, and to appear and give

testimony at a deposition on October 14, 2021. The October 7, 2021, deadline for producing

documents was later moved to October 18, 2021. The indictment alleges that the Defendant

wilfully defaulted by not providing testimony on October 14, 2021, and by not producing records

as required by October 18, 2021. The indictment alleges that this failure to comply was deliberate

and intentional.

        DEFENSE’S OBJECTION: The defense objects to the exclusion of the statutory
language of 2 U.S.C. § 192, and further renews its request for a sentence explaining that the
statements in the indictment are only allegations and that the Government has the burden of
proof in this case. The defense further objects to the inclusion of the last sentence as cumulative
considering the court’s ruling in this case which adopts the Government’s view that under this
statute “willfully” means deliberate and intentional.




                                                 1
            Case 1:21-cr-00670-CJN Document 119 Filed 07/17/22 Page 2 of 6




                                   VOIR DIRE QUESTIONS

Knowledge of the Parties and Other Jurors

1.     The United States is represented in this case by Assistant United States Attorneys Amanda
       Vaughn and Molly Gaston. They will be assisted in this trial by Quiana Dunn-Gordon.
       Are you personally acquainted with, do you have any connection to or association with, or
       have you had any contact with Ms. Vaughn, Ms. Gaston, or Ms. Dunn-Gordon?

2.     The Defendant is represented by David Schoen, Evan Corcoran, and Riane White. Are
       you personally acquainted with, do you have any connection to or association with, or have
       you had any contact with Mr. Schoen, Mr. Corcoran, or Ms. White?

       Defense Comment: Ms. White entered her appearance in this case on July 15, 2022. (ECF
       115).

3.     The Defendant is Stephen K. Bannon. Are you personally acquainted with, do you have
       any connection to or association with, or have you had any contact with Mr. Bannon?

4.     The following is a list of individuals who may testify in this case: Stephen Hart, Kristin
       Amerling, Sean Tonolli, Robert Costello, and Frank D’Amico. Are you personally
       acquainted with, do you have any connection to or association with, or have you had any
       contact with any of these individuals?

       Defense Objection: The defense objects to Mr. Bannon’s name being read to the jury
       venire as a prospective witness, since his name will already have been identified to the jury
       pool, and because he may elect not to testify, as is his right.

5.     Please look around you. Do you know or recognize any other member of the prospective
       jury panel, any member of the courtroom staff, or me?

Knowledge of the Case

6.     Is there anything about the nature of the charges in this case or the parties involved that
       would prevent you from deciding this case fairly?

7.     Have you heard, seen, or read anything, from any source, about this case?

       a.       If you have heard, seen, or read anything about this case, have you formed any
                opinions about this case based on what you have heard, seen, or read?

       b.       If you have heard, seen, or read anything about this case, is there anything about
                your knowledge of this case that would prevent you from following the Court’s
                instructions and reaching a verdict based solely on the evidence presented during
                the trial?

8.     Have you ever written or said anything for public consumption about the Defendant, the
       U.S. House Select Committee to Investigate the January 6th Attack on the U.S. Capitol, or


                                                2
        Case 1:21-cr-00670-CJN Document 119 Filed 07/17/22 Page 3 of 6




       the Committee’s investigation? For purposes of this question, writings or statements for
       public consumption include blog posts, articles, podcasts, or posts on any internet sites that
       are accessible to the general public.

9.     During the pendency of this trial, I will instruct you not to watch, read, or listen to any
       news, commentary, or online postings related to this case, including from newspapers,
       television, radio, podcasts, social media, or anything else on the internet. Would you have
       any trouble following that instruction?

Case-Specific Questions

10.    Have you, a family member, or anyone close to you ever worked for or provided services
       to the U.S House of Representatives, U.S. Senate, or any government agency affiliated with
       the legislative branch?

11.    Have you, a family member, or anyone close to you ever been subpoenaed by or asked by
       Congress or any congressional committee to testify or provide records?

12.    Have you, a family member, or anyone close to you ever been required by any government
       agency, court, or law enforcement entity to provide records, statements, or testimony in any
       matter?

13.    Were you, any member of your family, or a close friend present at the U.S. Capitol on
       January 6, 2021?

14.    You will hear and see evidence in this case that the Defendant was subpoenaed for testimony
       and records by the U.S. House of Representative’s Select Committee to Investigate the
       January 6th Attack on the United States Capitol. Have you heard, seen, or read anything,
       from any source, about the Select Committee or its investigation?

15.    If you are familiar with the Select Committee or its investigation, do you have any beliefs
       or opinions about the Select Committee, its investigation, or Congress more generally that
       would make it difficult for you to remain fair and impartial to both the government and the
       Defendant throughout the trial in this case?

16.    The Select Committee has been holding hearings concerning events at the U.S. Capitol on
       January 6, 2021. Have you watched or read coverage of those hearings?

17.    If you have watched or read coverage of the Select Committee’s hearings, will you have
       any difficulty putting aside any opinions you may have formed about the people involved
       in those events, following the law as I explain it to you, and deciding the case in a fair and
       impartial manner based solely on the evidence presented in court?

18.    Do you have any beliefs or opinions about the Defendant, Stephen Bannon, or anyone
       associated with him, that would make it difficult for you to remain fair and impartial to both
       the government and the Defendant throughout the trial in this case?




                                                 3
        Case 1:21-cr-00670-CJN Document 119 Filed 07/17/22 Page 4 of 6




19.   Mr. Bannon is a former advisor to President Donald J. Trump. Do you, your spouse or
      partner, or your family have any political beliefs that might prevent you from sitting in
      judgment of another person because that person’s political beliefs are the same or different
      from your own?

20.   You may hear testimony from elected officials or government staff with the same or
      different political beliefs from your own. Would you tend to believe or not believe the
      testimony of a witness simply because his or her political beliefs are the same or different
      from your own?

21.   As you sit here, do you have an opinion about the Defendant’s guilt or innocence in this
      case?

Experience with the Legal System and U.S. Government

22.   Have you, a family member, or anyone close to you ever studied law or worked in the legal
      profession in any way, including as a lawyer, paralegal, assistant, or investigator, and
      including in a prosecutor’s or defense attorney’s office, or in a courthouse?

23.   Have you, a family member, or anyone close to you ever been the subject of a criminal
      investigation or accused of, arrested for, or charged with a crime?

24.   Have you, a family member, or anyone close to you ever been the victim of or a witness to
      a crime, regardless of whether that crime was reported to law enforcement, or testified in
      court or before a grand jury as a witness to a crime?

25.   Have you ever served on a grand jury?

26.   Have you ever served as a juror in a civil or criminal trial in either federal, state, or local
      court?

27.   If you have ever served on a grand jury or as a juror in a civil or criminal trial, was there
      anything about your service that might affect your ability to serve fairly and impartially as
      a juror at this trial?

28.   Have you, a family member, or anyone close to you ever been employed by any local, state,
      or federal law enforcement agency, or private security company? Law enforcement
      agencies include, for example, the D.C. Metropolitan Police Department, the Federal
      Bureau of Investigation, the Drug Enforcement Administration, the Bureau of Alcohol,
      Tobacco Firearms, and Explosives, and the United States Capitol Police.

29.   Do you have any beliefs or opinions about law enforcement officers that would affect your
      ability to fairly and impartially evaluate the credibility of a law enforcement officer, like
      any other witness, simply because he or she is a law enforcement officer?

30.   Have you had any dealings with the United States Government in which you feel the
      government did not give you fair treatment?



                                                4
         Case 1:21-cr-00670-CJN Document 119 Filed 07/17/22 Page 5 of 6




31.    Do you have any beliefs or opinions about the United States Attorney’s Office, the U.S.
       Department of Justice, criminal defense attorneys, the Federal Bureau of Investigation, any
       other law enforcement agency, or the government generally that would make it difficult for
       you to remain fair and impartial to both the government and the Defendant throughout the
       trial in this case?

32.    You may hear testimony from witnesses who are elected officials or government staff.
       Would you tend to believe or not believe the testimony of a witness simply because he or
       she is an elected official or government staff? In other words, would you tend to give
       more or lesser weight to the testimony of an elected official or government staff than to the
       testimony of other witnesses?

Ability to Serve and Deliberate

33.    The prosecution has the burden of proof. This means that the jury cannot return a guilty
       verdict against a defendant unless the prosecution has proven beyond a reasonable doubt
       that the defendant is guilty of the crime charged. Would you have any difficulty accepting
       and applying this legal instruction?

34.    Every defendant in a criminal trial is presumed innocent and, therefore, has no obligation
       to testify or present any evidence in the case. Would you have any difficulty accepting and
       applying this legal instruction?

35.    To reach a verdict on a particular charge, every juror must agree on the verdict. That is,
       any verdict must be unanimous. In deliberations you must consider the opinions and points
       of your fellow jurors, but you must also follow your own conscience and be personally
       satisfied with any verdict. Would you have difficulty expressing your own opinions and
       thoughts about this case to your fellow jurors?

36.    I will instruct you on the law you must follow in rendering a verdict in this case. Is there
       anything that would prevent you from following the law as I instruct?

37.    Is there anything about your political beliefs or affiliations that would prevent you from
       following the law as I instruct you or reaching a verdict based solely on the evidence you
       receive during the trial?

38.    Do you have any difficulty seeing or hearing that would make it difficult for you to follow
       or receive the evidence presented in the case?

39.    Are you taking any medications or do you have any physical condition that could make it
       difficult for you to sit as a juror and give your full attention to the trial and the evidence in
       this case?

40.    Do you feel so uncomfortable being in a room with other jurors and trial participants, due
       to the COVID-19 pandemic that it would be difficult for you to pay attention or otherwise
       to serve as a juror in this case?



                                                  5
       Case 1:21-cr-00670-CJN Document 119 Filed 07/17/22 Page 6 of 6




41.   Are you currently caring for a relative or close friend who has been infected by, or exposed
      to a person infected with, COVID-19, such that it would be difficult for you to pay attention
      or otherwise to serve as a juror in this case?

42.   Do you have any difficulty speaking, understanding, reading, or writing the English
      language?

43.   Do you have any moral, religious, or ethical beliefs that prevent you from sitting in
      judgment of another person in a criminal trial?

44.   It is possible that this trial could continue into next week. Would jury service on a matter
      of that length cause a severe and unavoidable hardship to you?

45.   No matter what you have heard or seen about events at the U.S. Capitol on January 6, 2021
      from any source, and no matter what opinions you may have formed, will you have any
      difficulty putting that aside, following the law as I explain it to you, and deciding the case
      in a fair and impartial manner based solely on the evidence presented in court?

46.   Can you think of any other matter that might have some bearing on your ability to serve as
      a juror or your ability to render a fair and impartial verdict based solely on the evidence
      and my instructions on the law?




                                                6
